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                                                                                           E-FILED
                                                       Tuesday, 27 July, 2021 11:58:44 AM
                                                            Clerk, U.S. District Court, ILCD
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                             SPRINGFIELD DIVISION

EAST CENTRAL ILLINOIS PIPE TRADES           )
HEALTH AND WELFARE TRUST FUND,              )
PLUMBERS & PIPEFITTERS NATIONAL             )
PENSION FUND, PLUMBERS AND                  )
STEAMFITTERS LOCAL #137 PENSION             )
FUND, PLUMBERS AND STEAMFITTERS             )
LOCAL #137 ANNUITY FUND, THE FUND           )
FOR THE TRAINING OF APPRENTICES             )
AND JOURNEYMEN PLUMBERS AND                 )
STEAMFITTERS OF LOCAL UNION                 )
NO. 137, INTERNATIONAL TRAINING             )
FUND, INDUSTRY FUND, PLUMBERS               )
AND STEAMFITTERS LOCAL #137 PER             )
CAPITA FUND, PLUMBERS AND                   )
STEAMFITTERS LOCAL #137 MARKET              )
RECOVERY FUND, PLUMBERS AND                 )
STEAMFITTERS LOCAL #137 COPE FUND,          )
PLUMBERS AND STEAMFITTERS                   )
LOCAL #137 NEW BUILDING FUND,               )
PLUMBERS AND STEAMFITTERS                   )
LOCAL #137 SAVINGS FUND, and                )
PLUMBERS AND STEAMFITTERS                   )
LOCAL #137,                                 )
                                            )
                    Plaintiffs,             )
                                            )
v.                                          )   No.   20-3234
                                            )
AC CROWDER CORPORATION and                  )
AARON CROWDER,                              )
                                            )
                    Defendant.              )

                   MOTION FOR ENTRY OF FINAL JUDGMENT

      NOW COME the Plaintiffs, EAST CENTRAL ILLINOIS PIPE TRADES WELFARE

HEALTH AND WELFARE TRUST FUND et al., by their attorneys, CAVANAGH &

O’HARA, LLP, and for their Motion for Entry of Final Judgment against the defendants, AC

CROWDER CORPORATION and AARON CROWDER, state as follows:



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       1.      Plaintiffs filed a motion for default judgment and for order compelling accounting

on December 14, 2020 (d/e 7).

       2.      Plaintiffs requested from the court a finding of liability and other relief and an

order compelling the defendants to provide records for an accounting of the payroll records of

defendant AC Crowder Corporation to determine whether fringe benefit contributions and other

amounts were owed to the plaintiffs.

       3.      The Court entered an order on May 21, 2021, 2019 (d/e 10) granting plaintiffs’

motion for default judgment and for order compelling accounting.

       4.      The defendant has previously been found to be in default (d/e 6) and upon default,

the well-pleaded factual allegations of the complaint relating to liability are deemed admitted,

and a plaintiff is not required to further establish, and the defendant has no further standing to

contest, the plaintiff’s right to recover. In Re Uranium Antitrust Litigation, 473 F. Supp. 382

(N.D. Ill. 1979); see also Dundee Cement Co. v. Howard Pipe & Concrete Prods., Inc., 722 F.2d

1319, 1323 ( 7th Cir.1983).

       5.      Further, the under the court’s order (d/e 10), the defendants were found to be

liable to the plaintiffs for damages consisting of fringe benefit contributions, liquidated damages,

audit costs, attorneys’ fees, and other amounts owed to the plaintiffs.

       6.      The court reserved entry of final judgment under its order (d/e 10) until after an

accounting of the payroll records of defendant AC Crowder Corporation had been completed and

granted plaintiffs leave to file supplemental proofs establishing the damages plaintiffs have

suffered and the total amounts owed to the plaintiffs.

       7.      An accounting covering the period of April 1, 2017 through March 31, 2021 has

been completed and determined that additional fringe benefit contributions and other amounts

are owed to the plaintiffs.


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       8.      The accounting determined that defendant has employed individuals who

performed bargaining unit work for which additional contributions and working dues are owed to

the plaintiffs under the provisions of the collective bargaining agreement and trust agreements.

       9.      The accounting determined that (1) additional contributions and working dues in

the sum of $103,271.05 are owed to plaintiffs group Plumbers & Steamfitters Local 137 Pension

Fund et al.; (2) additional contributions in the sum of $51,482.05 are owed to plaintiff East

Central Illinois Pipe Trades Health and Welfare Trust Fund; and (3) additional contributions in

the sum of $6,818.20 are owed to plaintiff Plumbers & Pipefitters National Pension Fund.

       10.     Plaintiff Plumbers & Steamfitters Local 137 Pension Fund is also owed a 5%

surcharge totaling $978.00 on contributions owed from September 1, 2020 through the end of the

audit period of March 31, 2021 because the pension plan is in critical status.

       11.     Aaron Crowder, individually, gave plaintiffs a promissory note in the principal

amount of $46,467.90 plus interest, under which he agreed to be jointly and severally obligated

to pay plaintiffs for contributions and other amounts owed by defendant AC Crowder

Corporation to plaintiffs under ERISA.

       12.     The unpaid principal balance plus interest under the promissory note is

$54,346.26.

       13.     Plaintiffs are entitled to liquidated damages, interest, and reasonable attorneys’

fees and costs as may be available under Section 502(g)(2)(A-E) of ERISA, the collective

bargaining agreement, the trust agreement, and the promissory note.

       14.     An affidavit in support of this motion from Aaron Gurnsey, a Trustee of Plumbers

& Steamfitters Local #137 Pension Fund, is attached hereto as Exhibit A, and is fully

incorporated herein and made a part hereof.




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       15.     An affidavit in support of this motion from Mel Cox, Administrator of the East

Central Illinois Pipe Trades Health and Welfare Trust Fund, is attached hereto as Exhibit B, and

is fully incorporated herein and made a part hereof.

       16.     An affidavit in support of this motion from Toni C. Inscoe, Administrator of the

Plumbers & Pipefitters National Pension Fund, is attached hereto as Exhibit C, and is fully

incorporated herein and made a part hereof.

       17.     An affidavit in support of this motion from Joe Romolo, CPA, is attached hereto

as Exhibit D, and is fully incorporated herein and made a part hereof.

       19.     Affidavits in support of attorneys’ fees and costs incurred by the plaintiffs are

attached hereto as Exhibits E, F and G, and are fully incorporated herein and made a part hereof.

       20.     A memorandum of law in support of plaintiffs’ motion for entry of final judgment

is being filed separately from, but in support of this motion, and is hereby incorporated into this

motion by this reference as if fully set forth herein.

       WHEREFORE, Plaintiffs pray as follows:

       A.      That judgment is entered in the sum of $103,271.05, plus liquidated damages,

interest, audit costs, and attorneys’ fees and costs, in favor of plaintiffs Plumbers and

Steamfitters Local #137 Pension Fund, Plumbers and Steamfitters Local #137 Annuity Fund,

The Fund for the Training of Apprentices and Journeymen Plumbers and Steamfitters of Local

Union No. 137, International Training Fund, Industry Fund, Plumbers and Steamfitters Local

#137 Per Capita Fund, Plumbers and Steamfitters Local #137 Market Recovery Fund, Plumbers

and Steamfitters Local #137 Cope Fund, Plumbers and Steamfitters Local #137 New Building

Fund, Plumbers and Steamfitters Local #137 Savings Fund, and Plumbers and Steamfitters Local

#137 and against the defendant AC Crowder Corporation.




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       B.      That judgment is entered in the sum of $51,482.05, plus liquidated damages,

interest, audit costs, and attorneys’ fees and costs, in favor of plaintiff East Central Illinois Pipe

Trades Health and Welfare Trust Fund and against the defendant AC Crowder Corporation.

       C.      That judgment is entered in the sum of $6,818.20, plus liquidated damages,

interest, audit costs, and attorneys’ fees and costs, in favor of plaintiff Plumbers & Pipefitters

National Pension Fund and against the defendant AC Crowder Corporation.

       D.      That judgment is entered in the sum of $978.00 in favor of plaintiff Plumbers &

Steamfitters Local 137 Pension Fund and against the defendant AC Crowder Corporation.

       E.      That judgment is entered in the sum of $54,346.26, plus attorneys’ fees and costs,

in favor of plaintiffs and against the defendant Aaron Crowder, individually.

       F.      That defendants are decreed to pay to the plaintiffs liquidated damages, interest,

and reasonable attorneys’ fees and costs as may be available under ERISA, the collective

bargaining agreement, the trust agreement, and the promissory note;

       G.      That defendants are decreed to pay all costs attendant to these proceedings;

       H.      That plaintiffs are awarded, at defendants’ cost, such further and other relief as

may be available under ERISA, the collective bargaining agreement, the trust agreement, the

promissory note, or as is otherwise just and equitable.

                                                      EAST        CENTRAL ILLINOIS PIPE
                                                      TRADES HEALTH & WELFARE FUND
                                                      et al., Plaintiffs,

                                                   By:        s/ John P. Leahy
                                                              JOHN P. LEAHY
                                                              CAVANAGH & O’HARA LLP
                                                              Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 27, 2021, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system and I hereby certify that on July 27, 2021, I

mailed by United States Postal Service, via certified and regular mail, the document(s) to the

following non-registered participants:

       AC Crowder Corporation
       c/o Aaron Crowder, President
       3310 Gracie Industrial Dr.
       Springfield, IL 62707

       Aaron Crowder
       3310 Gracie Industrial Dr.
       Springfield, IL 62707

                                                           Respectfully submitted:


                                                By:        s/ John P. Leahy
                                                           JOHN P. LEAHY
                                                           CAVANAGH & O’HARA LLP
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